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10                                 UNITED STATES DISTRICT COURT

11                               NORTHERN DISTRICT OF CALIFORNIA

12
      RABAB ABDULHADI,                          ) Case No.: 4:18-cv-04662-YGR
13
                                                )
                  Plaintiff,
14                                              ) FIRST AMENDED COMPLAINT
                   v.
                                                ) AND DEMAND FOR JURY TRIAL
15    BOARD OF TRUSTEES of the CALIFORNIA       )
      STATE UNIVERSITY; LESLIE WONG; SUE V. )
16
      ROSSER; JENNIFER SUMMIT; and DOES 1-10; )
17    inclusive                                 )
                                                )
18
                  Defendants.
      _________________________________________
19

20           1. Plaintiff is a Professor at San Francisco State University (hereinafter SFSU). She

21   alleges (1) she has been discriminated against based on her race/national origin, and her

22   religious affiliation and who she associated with. She also alleges that the employer-refused to

23   make reasonable accommodations for her disabilities and has intermittently refused to even

24   engage in the interactive process the law requires. She further alleges that she was retaliated

25   against in violation of 42 U.S.C. §1983, She also alleges that SFSU breached its written

26   contract with her and misrepresented the nature of the position to induce her to leave the

27   University of Michigan to take a job at SFSU.

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1                                                PARTIES
2            2. Plaintiff, Rabab Abdulhadi is an Associate Professor at San Francisco State
3    University (hereafter “SFSU”), which is part of the California State University system.
4    Plaintiff is female, Palestinian, and, as will be detailed below, suffers from a disability or
5    disabilities, at least one of which significantly limits major life and work activities.
6            3. California State University (hereafter CSU) is a governmental entity, which
7    operates public universities throughout California, including SFSU.
8            4.    Defendant Board of Trustees of CSU adopts and oversees the implementation of
9    policies throughout the entire CSU system, including SFSU. Those policies include, inter alia,
10   policies for civil rights compliance and human resources management for all the campuses.
11           5.    Defendant Leslie Wong, PhD., became the President of SFSU in October of 2012
12   and is the chief executive officer of the university. On or about October 2, 2018, Defendant
13   Leslie Wong announced that he would retire effective July 30, 2019. Plaintiff reserves the
14   right to amend the present complaint when and if the President of SFSU changes during the
15   course of the present litigation.
16           6.    Defendant Sue V. Rosser, Ph.D., was Provost and Vice President for Academic
17   Affairs at SFSU from August 2009, until October 2016. As such she was the senior academic
18   administrator and was the second highest ranking officer at the university.
19           7.    Defendant Jennifer Summit, Ph.D. served as Interim Provost at SFSU from
20   October, 2016 until March, 2018, when she was appointed Provost. As such she was (and is)
21   the senior academic administrator and the second highest ranking officer at the university.
22           8.    The true and identity of each defendant denominated as a “Doe” is unknown to
23   plaintiff at this time, so said defendants are sued in this capacity. As each such defendant
24   becomes known to Plaintiff, she shall seek leave amend this Complaint to set forth that
25   defendant’s true identity.
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1                                            JURISDICTION
2            9.    Jurisdiction is proper because this action includes claims that Defendant harmed
3    Plaintiff through discriminatory employment practices in violation of 42 U.S.C. §§ 2000e et.
4    seq., as amended (hereafter “Title VII”), discriminated against Plaintiff in violation of 42
5    U.S.C. §1981, denied Plaintiff’s equal rights under 42 U.S.C. §1983, and also discriminated
6    against her in violation of 42 U.S.C. §§ 12112 et. seq. (hereinafter the “ADA”)
7            10. To the extent that the conduct giving rise to this action also implicates state law
8    claims, this Court is requested to exercise supplemental jurisdiction over those claims pursuant
9    to 28 U.S.C. §1367.
10           11.    None of the claims advanced in this complaint are subject to any collective
11   bargaining agreement.
12

13                                                VENUE
14           12. Venue is proper in this district under 28 U.S.C. §1391(b) because all or nearly all
15   of the events or omissions giving rise to this action occurred in this District.
16

17                         EXHAUSTION OF ADMINISTRATIVE REMEDIES
18           13. On August 2, 2017, Plaintiff received a Notice of Case Closure and Right to Sue
19   from the California Department of Fair Employment and Housing based upon her timely filed
20   complaint of “Discrimination Denied a good faith interview process, Denied a work
21   environment free of discrimination and/or retaliation, Denied equal pay, Denied promotion” on
22   the basis of her “Disability, National Origin, - including language use restrictions, Race,
23   Religion, Sex – Gender.”
24           14. On November 26, 2018, Plaintiff timely submitted a Government Claim form to the
25   Government Claims Program of the Office of Risk and Insurance Management in the
26   California Department of General Services.
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1                                        GENERAL ALLEGATIONS
2            15. Rabab Abdulhadi is an Arab woman of Palestinian ancestry. When she was twelve
3    years old the Israeli Army invaded and occupied her city, Nablus, and established military rule
4    in violation of well-established international law, custom, and norms. She later came to the
5    United States, earned her BA at Hunter College in 1994 and went on to graduate school at Yale
6    University, earning two Master’s degrees and a doctorate in Sociology, the latter being earned
7    in 2000.
8            16. From 2004-2006 Dr. Abdulhadi was the Director of the Center for Arab American
9    Studies at the University of Michigan (Dearborn).
10           17. In 2005, SFSU’s Dean of the College of Ethnic Studies, Ken Monteiro, indicated
11   to Plaintiff that SFSU wanted to recruit her for a position as an international scholar as the
12   position was described and presented to her by then Dean of the College of Ethnic Studies,
13   Kenneth Monteiro. Dean Monteiro indicated that the faculty position would involve Plaintiff
14   leading a program of nearly a dozen senior and junior faculty members. Plaintiff also wanted
15   to hire three faculty members for the new program she would establish there. In negotiations
16   with the University she ultimately accepted its offer to fund two full-time tenure track faculty
17   positions. Dr. Abdulhadi also made it clear that she did not want to be burdened with
18   administrative responsibilities for the new program, insisting on a ten-month academic contract
19   rather than a twelve-month (year-round) administrative one. SFSU agreed. It was thus clear to
20   SFSU from the outset that Dr. Abdulhadi expected to function as a senior scholar, exercising
21   intellectual and pedagogical leadership of an international research and teaching effort.
22           18. In 2006 Dr. Abdulhadi was recruited to join SFSU as a tenured Associate
23   Professor. SFSU sent her a contractual offer in letter form signed by the then-President Robert
24   Corrigan that included a memorandum of understanding signed by then Dean of the College of
25   Ethnic Studies, Kenneth Monteiro, a copy of which is attached to this Amended Complaint as
26   Exhibit “A”. The contract offer promised terms that were material to Dr. Abdulhadi’s
27   acceptance of the offer, and for which she had specifically negotiated, including, inter alia, a
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1    guarantee that the University would fully fund two additional full-time faculty positions and
2    would also fund Dr. Abdulhadi’s research and teaching-related international and national
3    travel. As to faculty positions, SFSU explicitly and expressly offered in pertinent part:
4            Additional Positions for Arab/Islamic Studies in Ethnic Studies
5            The university will support two additional lines in the areas of Arab/Islamic
6            studies. They will first be opened as Research Associates (R.A) under your
7            supervision and then can be converted to tenure track faculty lines at a later time
8            to be determined by the academic needs as you assess them. When they are
9            converted a normal tenure track search process will be used to fill the positions
10           (see http://wv.r1v.s fsu.edu/ --acaffrs/faculty_nanual/3_1__ 1.htm?t=1). The likely
11           R.A. salary range for these positions would be between $55,000 and $65,000
12           annually based on the credentials of the applicant and on approval of the
13           Provost. The likely Assistant Professor salary would be between $58,000 and
14           $70,000. The beginning dates for the research associates or faculty will be
15           determined by the Provost's approval after your submission of appropriate job
16           descriptions, supervisory models, accountability standards and search
17           processes for the positions. These appointments could begin as
18           early as spring 2007.
19           19. The offer extended by SFSU and accepted by Dr. Abdulhadi called for her
20   “leadership to the development of curriculum and scholarship regarding Araba and Islamic
21   diaspora studies.” This ultimately was named by Dr. Abdulhadi the “Arab and Muslim
22   Ethnicities and Disapora Studies” program (hereafter “AMED”).
23           20. Pursuant to this contract, beginning in 2007 the University opened two lines for
24   Research Associates who were immediately hired by Dr. Abdulhadi as part of the University’s
25   budget. In 2009, Dr. Abdulhadi obtained approval at all academic and administrative levels to
26   begin the search for two tenure-track assistant professors. The searches were advertised in
27   academic circles and publications, Dr. Abdulhadi formed and chaired a search committee,
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1    interviews were set up for screening interviews to create the long/short list at the annual
2    meetings of the American Studies Association (ASA) and the Middle East Studies Association
3    (MESA), and a short list of candidates were about to be invited for campus interviews.
4    Although these positions were included in SFSU’s approved budget for 2009, then-President
5    Corrigan canceled the searches. SFSU never reinstated them.
6            21. Plaintiff is informed and believes and based thereon alleges that virtually all other
7    faculty searches in programs other than AMED Studies which were canceled at that time were
8    later restored. Plaintiff is further informed and believes that the positions that were promised for
9    Dr. Abdulhadi’s program are almost the only ones that were never restored.
10           22. In either 2011 or 2012, SFSU suspended the budget lines which would have
11   permitted Dr. Abdulhadi to hire research associates and lecturers. This left her as the sole
12   faculty member in this AMED “program”.
13           23. Despite this, SFSU continued to lead Dr. Abdulhadi to believe and expect that the
14   contract would be honored and that she would be permitted to direct the hiring of two additional
15   faculty members as the MOU promised to her. In 2015, President Wong publicly admitted that
16   the University “owed” AMED the restoration of these two positions.
17           24. It was not until late August of 2018 that Dr. Abdulhadi learned that Provost Summit
18   was stating that Corrigan, while he was President, had repudiated the existence of the
19   contractually obligated faculty lines, and that Summit had instructed Dean Monteiro to act and
20   speak as though the lines had never existed.
21           25. Plaintiff is informed and believes and based thereon alleges that at the time
22   Corrigan approved of and signed the contractual offer to Dr. Abdulhadi, he knowingly
23   misrepresented the kind and character of the work that was being offered to her, in violation of
24   Cal. Labor Code §970.
25           26. False allegations of anti-Semitism is a common tactic that anti-Palestinian
26   organizations routinely, habitually and regularly use to improperly abuse, discredit, punish,
27   silence, censor, bully, intimidate, and/or harass scholars and students who advocate who
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1    advocate for justice in/ for Palestine such as Dr. Abdulhadi. In Summer 2018, an Al-Jazeera
2    documentary on such organizations revealed that such organizations engage in “character
3    assassination” against such activists and academics. The same documentary revealed that such
4    organizations were directly connected with and received funding and other material support
5    from the Israeli government.
6            27. When President Wong first arrived on campus in 2012 he initially stated his support
7    for the AMED program. Upon his investiture, Wong accepted an invitation to travel to Israel
8    from the Jewish Community Relations Council (JCRC), which has a pro-Israel and anti-
9    Palestinian bias. Information on this trip’s itinerary, flights and accommodations, meetings,
10   goals and objectives has not been made available to the university community. Upon President
11   Wong’s return from Israel he began to express notable hostility toward Professor Abdulhadi,
12   AMED studies, and Palestinian students, accepting AMCHA’s erroneous conflation of criticism
13   of Israel with anti-Semitism. In the fall of 2013 , the Koret Foundation 1-funded AMCHA
14   Initiative began loudly (and falsely) accusing Dr. Abdulhadi of anti-Semitism. 2
15           28. Shortly after the AMCHA slanders, high-ranking campus administrators themselves
16   directed anti-Palestinian slurs at Dr. Abdulhadi. Although President Wong was present, neither
17   he nor any of the other administrators objected or even challenged these remarks. Having
18   remarks such as these condoned by the university President and other high-ranking officials
19   effectively ratified their making.
20           29. Far from censuring the anti-Palestinian remarks, President Wong enthusiastically
21   acted on them, ordering repeated investigations into Plaintiff’s international research and
22
     1
23     The Koret Foundation is a Bay Area foundation which describes itself as seeking to improve the quality of life
     for Bay Area residents “and to supporting the vitality of the worldwide Jewish community”. The Koret
24   Foundation, which promised a two million donation to SFSU also established a “donor directed fund” at the Jewish
     Community Federation of San Francisco through which it sought to funnel large sums to AMCHA undetected
25
     2
       The AMCHA Initiative is a pro-Israel group which released a blacklist of more than 200 Middle East Studies
26   professors in the United States it declared to be “anti-Israel” (including Plaintiff). It has also filed multiple
     complaints with the U.S. Department of Education Office for Civil Rights alleging that speech critical of Israel
27   creates a hostile environment for Jewish students in violation of Title VI of the 1964 Civil Rights Act. None of
     these complaints have ever been upheld. AMCHA has also tried to pressure UC and CSU campuses into
28   cancelling courses and lectures with which it disagreed.
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1    lecturing trips, which were supported pursuant to Plaintiff’s contract with SFSU. SFSU also
2    revoked authorization for Plaintiff’s 2014 research trip to Palestine even though it had already
3    been approved. This was followed by a campaign of harassing inquisition into Plaintiff’s
4    scholastically-related travel which continues to this day. The ongoing harassment is the result
5    of and evidence of continuing violations of Plaintiff’s civil rights.
6            30. Defendants have continued their campaign to obstruct and impede Dr. Abdulhadi’s
7    research and teaching-related travel by imposing conditions and requirements not typically
8    imposed on other faculty members, by delaying reimbursement for approved trips, and by
9    setting impossible deadlines, insisting that Dr. Abdulhadi respond to demands on Christmas
10   Day, on a Saturday night, during school breaks, etc.
11           31. Plaintiff is informed and believes and based thereon alleges that the objective of
12   this campaign of discriminatory and unending harassment is to establish a work environment
13   that is so hostile and inimical to Dr. Abdulhadi’s research and academic pursuits that she either
14   resigns her position or at least spends most of her time locked in administrative battles, thus
15   reducing her energy, time, and effectiveness for her scholarship, to advocate for teaching,
16   publishing and protecting her students, and engaging in service as a public intellectual. Plaintiff
17   is also informed and believes and based thereon alleges that the defendants engage in this
18   campaign of discriminatory harassment which continually violates her rights in order to appease
19   donors and influential political figures who themselves harbor biases against students and
20   faculty who are Arabs and/or Muslims or who are members of organizations primarily
21   composed of Arabs and/or Muslims. This is evidenced by the following:
22                    (A) As recently as June 9, 2016, President Wong and Vice President Hong
23   admitted to GUPS, whose membership is overwhelmingly Arab and Muslim they were being
24   targeted by University officials. Wong and Hong admitted that GUPS members were
25   selectively prosecuted for acts undertaken by many students who were neither Arab or Muslim
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1    or members of GUPS. 3 Many of these students are enrolled in courses in AMED studies, the
2    program run by Dr. Abdulhadi.
3                      (B)      Although President Wong has explicitly and repeatedly denounced as
4    “anti-Semitism” acts or speech he has viewed, or claimed to view in this fashion, he does not
5    similarly criticize anti-Arab or anti-Palestinian racism or Islamophobia by name, instead
6    offering broad generalizations about “racism” and “discrimination”.
7              32.   For at least the past several years prior to the filing of this suit, despite her senior
8    status and her title as director and senior scholar in AMED Studies, Dr. Abdulhadi, a Palestinian
9    Muslim woman, was repeatedly excluded from University task forces and working groups that
10   were set up to address anti-Semitism and Islamophobia.
11             33. Since at least October 14, 2016, in addition to direct forms of national origin
12   discrimination, SFSU has tolerated the acts of third parties that have contributed to the creation
13   and maintenance of a hostile and threatening environment for Dr. Abdulhadi. The acts
14   tolerated have included outside organizations putting up posters that made vile and unfounded
15   accusations against her, her colleagues, and her students. Although the posters violated SFSU
16   regulations, the university took no steps to remove them or to prevent the reoccurrence of this.
17   Similar posters have been placed on campus several times.
18             34. The treatment to which Dr. Abdulhadi and her students have been subjected by
19   SFSU contrasts greatly with the kid-glove treatment afforded non-Muslim, non-Arab, and non-
20   Palestinian students. For example, in the fall of 2018 an avowed Nazi whose social media posts
21   have called for the murder of Muslims, Jews and immigrants, registered as a student in Dr.
22   Abdulhadi’s Palestine class Despite these threats of bigoted violence, on information and
23

     3
24     GUPS is the General Union of Palestinian Students, GUPS is a student-run organization that has been a part of the
     SFSU community for over four decades. It is dedicated to political and cultural awareness of Palestinian and Arab
25   culture within the San Francisco Bay Area community. GUPS also increases awareness of the Palestinian struggle
     for liberation and justice.
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1    belief, Defendants have not removed the Nazi from campus or in any way address the danger
2    he poses to students, faculty, and administration, or at least provided Dr. Abdulhadi and her
3    students reasonable security and protection for this class. This stands in sharp contrast to the
4    2014 treatment meted out to a Palestinian student, who was ordered out of school and
5    suspended for a year for social media posts.
6            35. Another stark contrast is the University’s double standard in choosing which
7    complaints to formally investigate. When the Executive Director of San Francisco Hillel, an
8    off-campus organization, complained over coffee to Vice President Hong about Hillel’s
9    purported exclusion from a student-organized event in 2017 the University immediately
10   launched a massive and time-consuming investigation. By contrast, in the face of Hillel’s
11   public silence about a violence-advocating Nazi student on campus, the complaints of Dr.
12   Abdulahadi and student groups, such as Jews Against Zionism, GUPS, the Muslim Students’
13   Association, the Muslim Women’s Students Association, Movimiento Estudiantil Chicano de
14   Aztlan, Students for Quality Education (MECHA), Ethnic Studies Students’ Organization, and
15   other groups representing students of color, went unheeded.
16           36. In addition to the foregoing, Dr. Abdulhadi has been subjected to a continuous
17   stream of discriminatory harassing conduct including, inter alia, abrupt and arbitrary
18   cancellation of classes she had planned and selected qualified community scholars to teach;
19   University republication, on the official SFSU website, of false and smearing allegations
20   delaying replacement of her work laptop computer for several months after hers was stolen
21   during an academic trip; preventing Dr. Abdulhadi from accepting prestigious visiting
22   fellowships at five international and national universities; refusing to publicize academic
23   fellowships she was awarded; moving her office without her permission (which was halted
24   only after the faculty union intervened); insisting that she obtain insurance for a teach-in that
25   was held in the college conference room where insurance had never been required or suggested
26   for non-Arab, non-Muslim groups; doing nothing to protect her students who have been stalked
27   on-line and received death threats and threats of sexual violence, and at least one whose
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1    employer was contacted in an effort to get the student fired; and arbitrarily reducing the
2    amount of travel support by 13% in further violation of the contractual agreement SFSU made
3    with Dr. Abdulhadi. 4
4            37. The harassing conduct by high-ranking University officials including, without
5    limitation, the university President, the Provost, and the Interim Dean of the College Ethnic
6    Studies, because of Dr. Abdulhadi’s race, national origin and/or religion and is cumulatively so
7    severe and/or pervasive as to constitute a hostile work environment for Dr. Abdulhadi by
8    altering the conditions of her employment.
9

10                                   Associational Discrimination in Violation of
11                                  42 U.S.C. §1981 and Cal. Gov. Code . §12940
12           38. Throughout her time at San Francisco State University Dr. Abdulhadi has closely
13   associated with students who were Palestinians and others of Arab ancestry, as well as with
14   Muslim students. She has also advocated for them when they felt themselves subjected to
15   discriminatory treatment.
16           39. For example, Dr. Abdulhadi worked with and advocated for Palestinian, Arab, and
17   Muslim students:
18                a. When they were attacked by the Administration for wanting to include a
19                     nonviolent cartoon character on a mural to be displayed at the student center on
20                     campus;
21                b.    When they were subjected to hate speech on campus perpetrated by outsiders;
22                c. When they were threatened with disciplinary action in retaliation for political
23                     protests; and most recently
24                d. When the University did not even investigate it after students discovered a
25                     naked man inside of the Muslim Women Students’ Association’s prayer room.
26

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     4
      Adjusted for inflation since the contract’s inception, this is a 29% reduction in support for Dr. Abdulhadi’s
28   academic-related travel expenses.
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1            40. In all the ways described elsewhere in this Complaint, Dr. Abdulhadi has been
2    subjected to a substantial, material alteration of her working conditions so pervasive as to
3    constitute a hostile working environment as discrimination or punishment for her association
4    with students of Palestinian and/or Arab ancestry, and/or who were Muslim.
5

6                                Unlawful Retaliation in Violation of 42 U.S.C. §1983
7            41.    When Plaintiff was invited as an SFSU faculty member in addition to her teaching
8    and scholarship, to serve as faculty adviser to GUPS.
9            42.    In 2009, GUPS and AMED co-sponsored an event to celebrate the creation of a
10   mural on campus which honored the late Edward Said, who had been a Professor at Columbia
11   University, had served as President of the Modern Language Association, and had been a
12   visiting Professor at Harvard, Yale, and Johns Hopkins.
13           43. In 2009 GUPS and AMED invited Omar Barghouti to speak at this event.
14   Although Barghouti had received international acclaim he as disliked by some influential
15   community members and SFSU donors because he advocated a nonviolent campaign to
16   pressure the Israeli government to change some of its policies. 5
17           44. At or about the time of the commemoration event then-SFSU President Corrigan
18   met with representatives JCRC which demanded the event be cancelled. Very shortly
19   thereafter Corrigan issued a statement condemning this nonviolent campaign and SFSU then
20   cancelled the faculty search and withdrew the contractually promised faculty lines. Corrigan
21   possessed final decision-making authority in such matters. Plaintiff is informed and believes
22   and based thereon alleges that these actions were ordered by Corrigan in retaliation for Dr.
23

24
     5
       The nonviolent campaign bears the acronym BDS and is a Palestinian-led international movement dedicated to
25   the proposition that Palestinians deserve the same rights as everyone else. The BDS movement seeks to achieve
     this by encouraging the boycott of the Israeli government and Israeli and international companies involved in
26   human rights violations; divestment from such companies by churches, universities, and labor pension funds, and
     governmental sanctions, similar to those the United States and European nations applied to South Africa. (See
27   https://usacbi.org/guidelines-for-applying-the-international-academic-boycott-of-israel/ last visited January 13,
     2009. Request for Judicial Notice of this document was granted by Judge Orrick in Mandel, et. al. v. Board of
28   Trustees  3:17-cv-03511 Dkt. No. 167, pp. 2-3, fn. 3.)
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1    Abdulhadi’s firmness in bringing Barghouti and other speakers to the campus, and in standing
2    up for the rights of Palestinians.
3            45. At the time Corrigan withdrew the two faculty positions SFSU had, at the
4     minimum, a policy or practice of honoring the terms of contracts it had negotiated and signed
5     with faculty members.
6            46. When Corrigan unilaterally withdrew the contractually required faculty positions
7    for AMED it was clearly established that professors at state universities could not be subjected
8    to retaliation for the exercise of their rights of free speech under the First Amendment to the
9    United States Constitution.
10           47. On November 7, 2013, the student group Dr. Abdulhadi advised the General
11   Union of Palestinian Students (GUPS) held a rally and event on-campus to commemorate the
12   anniversary of the Edward Said Memorial Mural. On November 19, 2013, President Wong,
13   under pressure from outside organizations, issued a statement claiming that chalked slogans
14   and posters and the image on a sweatshirt celebrated violence and promoted anti-Semitism,
15   even though none of the slogans, posters, or images mentioned Jews or used images associated
16   with Jewishness.
17           48. In January 2014, Dr. Abdulhadi led a research trip to Palestine that included other
18   academics, including another SFSU Professor. Beginning in March 2014, outside pressure
19   groups complained about the trip. In May of 2014 President Wong ordered three separate (and
20   redundant) audits into Dr. Abdulhadi’s travels including a five-year audit going back to 2009
21   even though SFSU had reviewed and approved each of these trips in advance, and even though
22   Dr. Abdulhadi, who had been proclaimed by SFSU as an international scholar under the terms
23   of her contract, was entitled to take University-funded international research trips.
24           49. Thus began a pattern of interference and harassment which continues to the
25   present. The pattern of acts was undertaken at the direction of President Wong, who held final
26   decision-making authority at SFSU, and was so consistently executed as to constitute a
27   governmental “custom” as defined by Los Angeles County v. Humphries, 562 U.S. 29, 36
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1    (2010). In violation of its own travel policies SFSU has canceled a trip it had already
2    approved, has singled out Dr. Abdulhadi for repeated scrutiny of how she spends her
3    authorized budget for research-related travel, has demanded justifications of her trips not asked
4    of other faculty, and has repeated “lost” travel-related documents, delaying reimbursement and
5    forcing Dr. Abdulhadi through the time consuming exercise of repeatedly finding and
6    resubmitting the same paperwork. This has had the effect of obstructing Dr. Abdulhadi from
7    her academic and scholarly obligations, which are already unconscionably burdensome in light
8    of SFSU’s repeated refusal to provide administrative support for this officially sanctioned
9    program despite promises to do so. It has also forced her to personally absorb expenses of the
10   type that SFSU had previously approved, that were simply taking too much of her time to
11   dispute, and to pay out of pocket for a part-time administrative assistant, a position which
12   SFSU should have made available to AMED.
13           50. SFSU has denied or greatly delayed repayment for, inter alia, the following
14   legitimate and contractually authorized expenses:
15                a. In 2013 SFSU refused to pay for Dr. Abdulhadi’s travel to present a paper at the
16                    bi-annual conference of the Center for American Studies and Research at the
17                    American University of Beirut. SFSU and CSU delayed authorizing the trip for
18                    so long that Dr. Abdulhadi was ultimately unable to confirm to the conference
19                    organizers that she would be able to participate and was removed from the
20                    schedule. This resulted in reputational harm to Dr. Abdulhadi, among other
21                    damages.
22                b. In 2015 SFSU delayed authorizing payment for Dr. Abdulhadi’s travel to the
23                    annual meeting of the American Studies Association, until the day the
24                    conference began, so she could not attend. The American Studies Association
25                    is the oldest scholarly organization dedicated to the study of U.S. culture and
26                    history. This resulted in reputational harm to Dr. Abdulhadi, among other
27                    damages.
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1                 c. SFSU claimed that in February of 2017 Dr. Abdulhadi had “canceled” two trips
2                     she had taken to the American Studies Association’s and the National Women’s
3                     Studies Association’s annual meetings – even though the meetings had occurred
4                     months before. Although SFSU ultimately relented, it took over a year -of
5                     bureaucratic wrangling to wrest the contractually authorized payments from
6                     SFSU.
7                 d. In October of 2017 Professor Abdulhadi was refused reimbursement for part of
8                     her expenses a trip to present a paper at the acclaimed Afro Middle East Center
9                     in Johannesburg where she met privately with (then) Deputy President Cyril
10                    Ramaphosa, weeks before he became President of South Africa.
11                e. SFSU also denied contractually authorized travel authorization for Dr.
12                    Abdulhadi to present a 2017 lecture on the 100th Anniversary of the Balfour
13                    Declaration at the University of London’s School of Oriental and African
14                    Studies (SOAS). SOAS is widely acknowledged as the world's leading
15                    institution for the study of Asia, Africa and the Middle East.
16                f. SFSU also denied payment to Dr. Abdulhadi for part of her expenses to travel to
17                    address the French National Assembly on the 100th Anniversary of the Balfour
18                    Declaration. Importantly, Defendants are aware that these tactics impose a
19                    substantial financial hardship upon Dr. Abdulhadi.
20           51. Dr. Abdulhadi is informed and believes and based thereon alleges that Wong
21   ordered Dean Kenneth Monteiro and possibly other officials to interfere with her travel and to
22   initiate pointless and time-consuming audits.
23           52. These instructions were issued and carried out in violation of SFSU travel policies.
24   This was done and is still being done at a time when it was clearly established that professors
25   at state universities could not be punished for the exercise of their rights of free speech and/or
26   academic freedom.
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1            53. Dr. Abdulhadi is further informed and believes and based thereon alleges that the
2    same directions and the same approach has led to SFSU’s denial of routine reimbursement for
3    supplies necessary for her research and teaching, including, inter alia, storage charges for
4    substantial amounts of electronic data, the cost of shipping extensive research files held at
5    SFSU to New York where she was continuing her research and writing for publication, etc.
6

7                   Further Retaliation by Excluding Dr. Abdulhadi From Key Task Forces
8                       and Working Groups, and by Seeking to Deprive Her of Authority
9                                         as Director of AMED Studies
10           54. In May of 2017 SFSU convened a Presidential Task Force on “Campus Climate”,
11   headed by Dr. Wong. Although numerous faculty, students, community representatives and
12   administrators were invited to participate, Dr. Abdulhadi was conspicuously not invited, nor
13   was her input sought.
14           55. In the summer of 2017, Dr. Hong established an “Ad Hoc Working Group to
15   develop an “Equity and Social Justice Educational Outreach Plan”. Although a great many
16   faculty members were invited, again, Dr. Abdulhadi was not invited, nor was her input sought.
17           56. Similarly, in 2018, the Department Chair has repeatedly sought to sidestep Dr.
18   Abdulhadi and deal directly with her teaching associate and doctoral student about what
19   courses he can teach and how to arrange them. The Department Chair has continued with this
20   approach despite repeatedly being asked to go through Dr. Abdulhadi on these matters.
21           57. Beginning with President Corrigan and continuing with President Wong, SFSU
22   enacted policies and consistent customs to interfere with and obstruct Plaintiff’s professional
23   productivity, to deny her support regardless of the fact that it had been contractually agreed to
24   or was otherwise required by law, and to harass her in ways large and small so as to reduce her
25   effectiveness, all in retaliation for her exercise of her rights of freedom of speech and academic
26   freedom.
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1                                        Disability Discrimination
2            58. Dr. Abdulhadi has disabilities which are exacerbated when Dr. Abdulhadi carries
3    heavy objects, does extensive typing or handwriting, walks long distances, or stands for a long
4    time. She has been prescribed splints, anti-inflammatory injections, pain medications, and hot
5    and cold compresses, and uses these modalities. Surgery on her shoulder was unhelpful
6    because she still had to carry a very heavy computer and was refused the assistance she
7    requested and needed. These disabilities substantially limit one or more major life activities.
8            59. Dr. Abdulhadi has also been diagnosed with a bilateral sensorineural hearing loss
9    with only 48% speech understanding when background noise is present. Her otolaryngologist
10   has recommended that she teach online and that she is assisted with captioning for audio-visual
11   material she uses in her work.
12           60. This disability substantially limits one or more major life and work activities in
13   that she cannot talk on the telephone without headphones, she must ask people to speak slowly
14   when she is on the telephone or in conferences because she cannot understand them if they
15   speak too quickly, she has to ask students and audience members to speak slowly and clearly.
16           61. Dr. Abdulhadi has been diagnosed with carpal tunnel syndrome. This disability
17   substantially limits one or more major life and work activities in that it makes it painful for her
18   to type, impairs her ability to sleep without wearing splints, prevents her from washing dishes,
19   from holding a regular sized plate unless it is plastic or paper, and interferes with her ability to
20   carry skillets or pots. She cannot carry luggage. It is painful for her to prepare written notes
21   when she gives talks or lectures, and it is painful for her to take notes when she attends the
22   talks or lectures of others.
23           62. Dr. Abdulhadi has herniated discs in her spine and neck. This disability
24   substantially limits one or more major life activities in that she cannot stand or sit for
25   prolonged periods. It also interferes with her carrying her own books, class materials, or
26   personal belongings.
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1            63. Dr. Abdulhadi must rely on a regiment of trigger point injections, pain medication,
2    and analgesic patches and, when all else fails, resigns herself to working in great pain – and
3    much more slowly and less productively than she otherwise would.
4            64. Despite these disabilities, Dr. Abdulhadi is able to perform the essential functions
5    of her job and has performed well as a professor, getting favorable reviews from the vast
6    majority of her students and accolades and recognition from her academic peers for her
7    scholarship and public engagement. She lectures internationally and has promoted the
8    university and the college at international public and academic research sites. She is a valued
9    reviewer to scholarly publications and serves on several well-respected research boards. She
10   successfully founded the AMED Studies program and obtained university approval for students
11   to officially declare the field as an academic Minor with 22 courses that are relevant to
12   contemporary public concerns and are also classified as General Education courses that fulfil
13   several university requirements in the areas of Global Perspectives, Social Justice, American
14   Ethnic and Racial Minorities, as well as Upper- and Lower-Division in the Humanities and
15   Social Sciences. She initiated and established the Memorandum of understanding (MOU)
16   between SFSU and An-Najah National University in Palestine, the first and only collaborative
17   agreement SFSU has with any Arab or Muslim research site. She founded the Edward Said
18   Scholarship for merit and community service to SFSU graduate and undergraduate students.
19   She takes great pride in her work and is deeply committed to her students, investing significant
20   amounts of time and energy to mentor them and encourage their intellectual endeavors and
21   community service inside and outside the classroom. Her students were accepted in well-
22   regarded doctoral programs at top universities, receiving distinguished awards and shining in
23   their fields. As a public intellectual, a service SFSU emphasizes and cherishes, Dr. Abdulhadi
24   has brought international recognition to university and the college at public forums and
25   intellectual research sites. She has an active research agenda with cutting edge and pioneering
26   research projects on matters of public concerns and current relevance in the U.S. and
27   throughout the world. Dr. Abdulhadi has also launched an active public education campaign at
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1    AMED Studies that opens up the classroom to the community and exposes students to
2    community-based knowledge and expertise and further allows students, scholars, and
3    community leaders to collectively co-learn and discuss pertinent issues in a critical thinking
4    approach of respect for diverse views and debates. The open classrooms/public events she
5    organizes with no funding from the university are further streamed live to reach larger
6    audiences and engage global publics, thus also promoting SFSU’s rankings.
7            65. As a reasonable accommodation for her hearing loss, Dr. Abdulhadi has repeatedly
8    requested for captioning for video materials since 2013. Despite the fact that SFSU faculty are
9    contractually expected to engage in academic research and to serve the academic and broader
10   communities, SFSU has consistently refused to make captioning or other assistive adaptations
11   available to Dr. Abdulhadi for her research and community service activities, insisting that they
12   would only support her teaching (and begrudgingly at that.) Although SFSU’s Disability
13   Programs and Resource Center approved a list of reasonable accommodations in 2013, some of
14   the approved accommodations have not always been provided. For example, in 2013 she was
15   given an adaptive headset, but SFSU insisted that she return it in 2014 because she was on
16   sabbatical, a time when she was relieved of teaching responsibilities but was supposed to work
17   and research for publication. Even when she returned to teaching in fall 2014, it was not
18   replaced. Captioning for material Dr. Abdulhadi needs to use for her research has been)
19   similarly refused. Her request for on-line teaching where a combination of captioning and
20   sound separation and amplification can make it more feasible for her to hear her students
21   during class sessions has not been allowed.
22           66. Similarly, SFSU has refused to permit her to teach all of her classes online even
23   though this would help compensate for her hearing loss and for the inadequacy of SFSU’s
24   captioning arrangements.
25           67. As a reasonable accommodation for her carpal tunnel syndrome and her herniated
26   discs Dr. Abdulhadi -requested a new lightweight computer on April 3, 2012. SFSU promptly
27   approved the computer (via email on April 6)—and then refused to provide the computer for at
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1    least eight months. Plaintiff is uncertain exactly when she finally got the long-awaited
2    computer but knows that it was later than December 6, 2012, as she was still writing SFSU
3    officials and asking about it on that date. This problem was repeated
4            68. Similarly, when Dr. Abdulhadi reported in April of 2016 that her computer had
5    been broken by Israeli soldiers at a checkpoint in Palestine in March 2016, where she was
6    traveling for research. The computer was not replaced until August or September of 2018.
7    Ironically, although the acting Dean of the College of Ethnic Studies knew the laptop had
8    arrived in August 2018, and though she sent Dr. Abdulhadi numerous emails that week on
9    many other subjects, not a single one of these emails mentioned that the laptop had arrived.
10           69. As a further reasonable accommodation for her herniated discs, Dr. Abdulhadi
11   also requested that she be assigned a classroom reasonably near to her office to reduce the
12   distance she would have to walk with heavy books and other instructional materials. Despite
13   prior knowledge that Dr. Abdulhadi’s condition was permanent and that this was an
14   accommodation that would be permanently required, SFSU refuses to make this
15   accommodation unless Dr. Abdulhadi renews her request for it at the beginning of each
16   semester. SFSU has also insisted that as a condition of being given a nearby classroom, she
17   would have to teach a class that began at 7 p.m., despite the university’s knowledge that this
18   would decrease student enrollment, a key performance metric used in SFSU evaluations.
19           70. Despite her multiple requests, SFSU has delayed and/or failed to provide plaintiff
20   reasonable accommodations for her disabilities. The accommodations she needs are
21   comparatively minor and are not so costly as to make it impracticable for SFSU to
22   accommodate Plaintiff including, but not limited to permitting Plaintiff to do online teaching,
23   allowing her to work remotely, reducing the amount of paperwork and incessant and
24   unnecessary emails she must respond to from SFSU administrators while refusing to provide
25   her with assistance, furnishing her with a lightweight, portable, appropriate computer, with
26   timely and proper captioning, other devices and medically approved accommodations, and
27   hiring student assistants and administrative staff as promised.
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1                           First Cause of Action for Breach of Contract Against
2                           Board of Trustees of the California State University
3            71.    Plaintiff repeats and repleads each allegation in Paragraphs 1-70, inclusive, as
4    though fully alleged herein.
5            72. Plaintiff entered into a valid and enforceable contract with California State
6    University.
7            73.    The terms of this contract were prepared by the Dean of the College of Ethnic
8    Studies and approved by the Provost/Vice President for Academic Affairs and the Dean of
9    Faculty Affairs and Professional Development.
10           74. The three SFSU officials had both actual and ostensible authority to agree the
11   terms of this contract.
12           75. During the contract negotiations Dr. Abdulhadi received written assurances from
13   Dean Monteiro that President Corrigan had approved the two additional AMED faculty lines as
14   well as the other terms specified in the contract (Exhibit A).
15           76. At all times material hereto Plaintiff performed each and every one of her
16   obligations under the contract, or alternatively any nonperformance was justified.
17           77. Defendant sued in this Cause of Action breached this contract by failing and
18   refusing to hire two additional faculty to assist Plaintiff with the AMED program.
19           78. As a direct and legal result of this breach, Plaintiff has suffered economic loss in a
20   sum to be proven at trial.
21

22                 Second Cause of Action for Violation of California Labor Code §970
23                        Against Board of Trustees of California State University
24           79. Plaintiff repeats and repleads each allegation in Paragraphs 1-70, inclusive, as
25   though fully alleged herein.
26           80. Defendant’s agents or officers sued in this Cause of Action influenced or
27   persuaded Plaintiff to change from outside of the State of California to San Francisco State
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1    University by means of knowingly false representations about the kind and character of the
2    work.
3             81. The false representations about the kind and character of the work were material to
4    Plaintiff, who would not have relocated without them.
5             82. As a direct and legal result of this breach, Plaintiff has suffered economic loss in a
6    sum to be proven at trial.
7             83. As a direct and legal result of this breach, Plaintiff has suffered other damages to
8    her professional reputation in a sum to be proven at trial.
9             84. As a direct and legal result of this breach, Plaintiff has suffered other damages due
10   to emotional distress and exhaustion in a sum to be proven at trial.
11

12           Third Cause of Action for Race Discrimination in Violation of 42 §U.S.C. 1981
13               Against Defendants: Board of Trustees of California State University,
14              Leslie Wong, Sue V. Rosser, Jennifer Summit, and Does 1-10, Inclusive
15            85. Plaintiff repeats and repleads each allegation in Paragraphs 1-70 as though fully set
16   forth herein.
17            86. Dr. Abdulhadi is in a protected class because of her race, that of Palestinian-Arab.
18            87. At all times material hereto Dr. Abdulhadi has been qualified for the employment
19   position, job responsibilities and duties she performed for SFSU.
20            88. Through its managerial employees, Defendant California State University has
21   engaged in acts, practices, and a course of conduct, which discriminated against Dr. Abdulhadi
22   because of her race and national origin.
23            89. The Defendant’s actions which are the subject of this Complaint, were motivated
24   by race when Defendant denied Plaintiff resources, denied her protection, subjected her to
25   excessive and unwarranted scrutiny and requirements not endured by professors. Those acts
26   deprived Dr. Abdulhadi of equal employment opportunities, equal terms and conditions of
27   employment, and adversely affected her status as an employee because of her race.
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1            90. Defendants subjected Dr. Abdulhadi to unequal terms and conditions of
2    employment. Her race or as an “Arab was a substantial motivating factor in defendant’s
3    decision to subject Plaintiff to unequal terms and conditions of employment.
4            91. By impairing Dr. Abdulhadi’s ability to perform her job functions because of her
5    race Defendant violated 42 U.S.C. §1981.
6            92. This illegal discrimination deterred Dr. Abdulhadi from seeking appointment as a
7    full professor, with a concomitant salary increase. It also prevented her from taking other
8    opportunities to advance her career.
9            93. As a direct and legal result of Defendant’s violation of 42 U.S.C. §1981, Dr.
10   Abdulhadi has suffered embarrassment, stress, anxiety, emotional distress, pain and suffering,
11   inconvenience, mental anguish, loss of enjoyment, and damage to personal and professional
12   reputation.
13           94. As a further direct and legal result of Defendant’s violation of 42 U.S.C. §1981, Dr.
14   Abdulhadi has been forced to incur out-of-pocket expenses to pay for administrative assistance,
15   research, and other services, equipment, and travel which the SFSU should be providing.
16           95. As a further direct and legal result of Defendant’s violation of 42 U.S.C. §1981, Dr.
17   Abdulhadi has prior income and will lose income in the future.
18           96. California State University’s unlawful and discriminatory actions are intentional,
19   willful, and/or are taken in willful disregard of Dr. Abdulhadi’s rights.
20           97. Plaintiff seeks injunctive relief to protect future applicants from Defendant’s
21   discriminatory employment practices described herein.
22           98. The acts alleged herein were done with malice or reckless indifference to Plaintiff’s
23   federally protected rights, entitling her to punitive damages in an amount sufficient to punish
24   the defendants and to deter future similar misconduct. And all other and further relief this
25   Honorable Court deems fit and proper.
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1          Fourth Cause of Action for Race, National Origin, and Religious Discrimination
2           in Violation of 42 §U.S.C. 2000e et. seq. Against Defendants Board of Trustees
3                         of California State University, Leslie Wong, Sue V. Rosser,
4                                   Jennifer Summit, and Does 1-10, Inclusive
5            99.     Plaintiff repeats and repleads each allegation in Paragraphs 1-70 as though fully
6    set forth herein.
7            100. Dr. Abdulhadi is in a protected class because of her race or alternatively her race,
8    (“Palestinian-Arab”), her national origin (Palestinian), and her religion (Muslim).
9            101. At all times material hereto Dr. Abdulhadi has been qualified for the
10   employment position, job responsibilities and duties she performs for SFSU.
11           102. Through its managerial employees, Defendant has engaged in acts, practices, and
12   a course of conduct, which discriminated against Dr. Abdulhadi because of her race, her
13   national origin, and/or her religion.
14           103. Defendant’s actions which are the subject of this Complaint, were motivated by
15   race, national origin, and/or religious discrimination when they denied her resources, denied
16   her protection, subjected her to excessive and unwarranted scrutiny and requirements not
17   endured by white professors, U.S. born, and/or non-Muslim male professors. Those acts
18   deprived Dr. Abdulhadi of equal employment opportunities, equal terms and conditions of
19   employment, and adversely affected her work as an employee because of her race, her national
20   origin, and/or her religion.
21             104. Defendant subjected Dr. Abdulhadi to unequal terms and conditions of
22   employment. Plaintiff’s race or race as an “Arab”, her national origin as a Palestinian, and/or
23   her status as a Muslim was a substantial motivating factor in Defendant’s decision to deny
24   Plaintiff equal job opportunities.
25           105. This illegal discrimination deterred Dr. Abdulhadi from seeking appointment as
26   a full professor, with a concomitant salary increase. It also prevented her from taking other
27   opportunities to advance her career.
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1            106. By impairing Dr. Abdulhadi’s ability to perform her job functions because of her
2    race or race, her national origin, and/or her religion, Defendant violated 42 U.S.C. §2000e et.
3    seq.
4            107.       As a direct and legal result of Defendant’s violation of 42 U.S.C. §2000e et.
5    seq., Dr. Abdulhadi has lost income and shall lose income in the future in an amount to be
6    proven at trial.
7            108.       As a direct and legal result of Defendant’s violation of 42 U.S.C. §2000e et.
8    seq., Dr. Abdulhadi has suffered embarrassment, , stress, anxiety, emotional distress, pain and
9    suffering, inconvenience, mental anguish, loss of enjoyment, , and damage to personal and
10   professional reputation.
11           109.       As a further direct and legal result of Defendant’s violation of 42 U.S.C. §2000e
12   et. seq., Dr. Abdulhadi has been forced to incur out-of-pocket expenses to pay for services,
13   equipment, and travel which the SFSU should be providing.
14             110. SFSU’s unlawful and discriminatory actions are intentional, willful, and/or are
15   taken in willful disregard of Dr. Abdulhadi’s rights.
16             111. Plaintiff seeks injunctive relief to protect future applicants from Defendant’s
17   discriminatory employment practices described herein.
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19                  Fifth Cause of Action for Disability Discrimination in Violation of
20                               42 U.S.C. §12112 et. seq. Against Defendants
21                              Board of Trustees of California State University
22           112.       Plaintiff repeats and repleads each allegation in Paragraphs 1-70 as though fully
23   set forth herein.
24           113.     Defendant sued in this cause of action is an “employer” as defined by the ADA,
25   42 U.S.C. § 12111(5)(A), as amended.
26           114.     Plaintiff is an “employee” as defined by the ADA, 42 U.S.C. § 12111(4).
27           115.       Plaintiff has herniated discs in her spine and neck, and carpal tunnel syndrome.
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1    She also has the further disability of bilateral sensorineural hearing loss and with only 48%
2    speech understanding when background noise is present, making her disabled within the
3    meaning of the statute. Defendant is aware of the foregoing.
4            116. By refusing to furnish and/or unreasonably delaying furnishing Dr. Abdulhadi
5    with the reasonable accommodations described hereinabove, including, but not limited to
6    assistance, a lightweight portable appropriate computer; with proper and timely captioning to
7    assist with lectures and presentations; and a classroom reasonably convenient to her office, as
8    well as other devices and medically approved accommodations despite her repeated requests,
9    Defendant has denied Plaintiff a reasonable accommodation for her disabilities.
10           117. Defendant’s actions create and subject Dr. Abdulhadi to a hostile work
11   environment based on her disability, in further violation of the ADA.
12           118. SFSU’s unlawful and discriminatory actions are intentional, willful, and/or are
13   taken in willful disregard of Dr. Abdulhadi’s rights.
14           119. As a legal cause of SFSU’s conduct and omissions, Plaintiff suffers and
15   continues to suffer embarrassment, stress, anxiety, emotional distress, pain and suffering,
16   inconvenience, mental anguish, loss of enjoyment, , and damage to personal and professional
17   reputation.
18           120. As a further direct and legal result of Defendant’s violation of the ADA Plaintiff
19   has been forced to incur out-of-pocket expenses to pay for services, equipment, and travel
20   which the SFSU should be providing.
21           121. Plaintiff seeks injunctive relief to protect future applicants from Defendant’s
22   discriminatory employment practices described herein.
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1         Sixth Cause of Action for Race, National Origin, and/or Religious Discrimination
2                               in Violation Cal. Government Code §12940, et. seq.
3                      Against the Board of Trustees of California State University
4            122. Plaintiff repeats and repleads each allegation in Paragraphs 1-70, Paragraphs 86-
5    96, and Paragraphs 101-109, supra, as though fully set forth herein.
6            123. Dr. Abdulhadi is in a protected class because of her race or her race, (“Arab”),
7    her national origin (Palestinian), and her religion (Muslim),
8            124. At all times material hereto Dr. Abdulhadi has been qualified for the
9    employment position, job responsibilities and duties she performed for SFSU.
10           125. Through its managerial employees, Defendant has engaged in acts, practices, and
11   a course of conduct, which discriminated against Dr. Abdulhadi because of her race, her
12   national origin, and/or her religion.
13           126. The Defendant’s actions which are the subject of this Complaint, were motivated
14   by race, national origin, and/or religion when they denied her resources, denied her protection,
15   subjected her to excessive and unwarranted scrutiny and requirements not endured by white
16   male professors, U.S. born, and/or non-Muslim professors. Those acts deprived Dr. Abdulhadi
17   of equal employment opportunities, equal terms and conditions of employment, and adversely
18   affected her status as an employee because of her race, her national origin, and/or her religion.
19           127. Defendant subjected Dr. Abdulhadi to unequal terms and conditions of
20
     employment. Plaintiff’s race as an “Arab”, her national origin as a Palestinian, and/or her
21
     religion as a Muslim was a substantial motivating factor in defendant’s decision to deny
22

23
     Plaintiff equal job opportunities.

24           128. By impairing Dr. Abdulhadi’s ability to do her job because of her race her
25   national origin, and/or her religion, Defendant violated Cal. Gov. Code §12940 et. seq.
26           129. This illegal discrimination deterred Dr. Abdulhadi from seeking appointment as
27   a full professor, with a concomitant salary increase. It also prevented her from taking other
28   opportunities to advance her career.
      ____________________________________________________________________________________________________
                            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

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1             130.    As a direct and legal result of Defendant’s violation of Cal. Gov. Code §12940
2    et. seq., Dr. Abdulhadi has suffered and will suffer lost wages in an amount to be proven at
3    trial;
4             131. As a direct and legal result of Defendant’s violation of Cal. Gov. Code §12940
5    et. seq., Dr. Abdulhadi has suffered embarrassment, , stress, anxiety, emotional distress, pain
6    and suffering, inconvenience, mental anguish, loss of enjoyment, , and damage to personal and
7    professional reputation.
8             132. As a further direct and legal result of Defendant’s violation of Cal. Gov. Code
9    §12940 et. seq., Dr. Abdulhadi has been forced to incur out-of-pocket expenses to pay for
10   services, equipment, and travel which the SFSU should be providing.
11

12                          Seventh Cause of Action for Failure to Prevent Race,
13                          National Origin, and/or Religious Discrimination in
14                              Violation Cal. Government Code §12940(k), et. seq.
15                     Against the Board of Trustees of California State University
16            133. Plaintiff repeats and repleads each allegation in Paragraphs 1-70, Paragraphs 86-
17   96, and Paragraphs 101-109, supra, as though fully set forth herein.
18            134. Defendant sued in this cause of action failed to take all reasonable steps
19   necessary to the discrimination.
20            135. As a direct and legal result of Defendant’s violation of Cal. Gov. Code §12940
21   et. seq., Dr. Abdulhadi has suffered and will suffer lost wages in an amount to be proven at
22   trial;
23            136. As a direct and legal result of Defendant’s violation of Cal. Gov. Code §12940
24   et. seq., Dr. Abdulhadi has suffered embarrassment, , stress, anxiety, emotional distress, pain
25   and suffering, inconvenience, mental anguish, loss of enjoyment, , and damage to personal and
26   professional reputation.
27

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1            137. As a further direct and legal result of Defendant’s violation of Cal. Gov. Code
2    §12940(k) et. seq., Dr. Abdulhadi has been forced to incur out-of-pocket expenses to pay for
3    services, equipment, and travel which the SFSU should be providing.
4

5          Eighth Cause of Action for Disability Discrimination – Failure to Accommodate
6                          in Violation Cal. Government Code §12940(m), et. seq.
7                        Against the Board of Trustees of California State University
8            138.     Plaintiff repeats and repleads each allegation in Paragraphs 1-70 as though fully
9    set forth herein.
10           139.     Pursuant to Government Code § 12940(m) and 2 C.C.R. §7293.9. it is unlawful
11   for an employer to fail to provide reasonable accommodation to an employee with a disability.
12           140.     Pursuant to Government Code §§ 12926 and 12926.1 Plaintiff has a physical
13   disability, a record of physical disability, and/or was perceived as or treated as having a physical
14   disability by Defendant.
15           141.     By refusing to furnish and/or unreasonably delaying furnishing Dr. Abdulhadi
16   with the reasonable accommodations described hereinabove, including, but not limited to
17   assistance, a lightweight portable appropriate computer; with proper and timely captioning to
18   assist with lectures and presentations; and a classroom reasonably convenient to her office, as
19   well as other devices and medically approved accommodations despite her repeated requests,
20   Defendant has denied Plaintiff a reasonable accommodation for her disabilities.
21           142.     As a direct and legal result of Defendant’s wrongful conduct, Plaintiff has
22   suffered damages including, but not limited to, a loss of income and benefits.
23           143.     As a further direct and legal result of Defendant’s wrongful conduct, suffered
24   emotional distress and other general damages.
25           144.     Plaintiff seeks injunctive relief to protect future applicants from Defendant’s
26   discriminatory employment practices described herein.
27

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1           Ninth Cause of Action for Disability Discrimination – Failure to Engage in the
2              Interactive Process in Violation Cal. Government Code §12940(n), et. seq.
3                        Against the Board of Trustees of California State University
4            145.     Plaintiff repeats and repleads each allegation in Paragraphs 1-70 as though fully
5    set forth herein.
6            146.     Pursuant to Government Code § 12940(m) it is unlawful for an employer to fail
7    to provide reasonable accommodation to an employee with a disability.
8            147.     Pursuant to Government Code §§ 12926 and 12926.1 Plaintiff has a physical
9    disability, a record of physical disability, and/or was perceived as or treated as having a physical
10   disability by Defendant.
11           148.     As set forth above, Plaintiff requested various reasonable accommodations that
12   would allow her to continue her work.
13           149.     Defendant failed and refused to respond to those requests and failed and refused
14   to engage in a timely, good faith interactive process.
15           150.     Defendant’s repeated imposition of delays obstacles to the of said interactive
16   process created a hostile work environment in further violation of §12940.
17           151.     As a direct and legal result of Defendant’s wrongful conduct, Plaintiff has
18   suffered damages including, but not limited to, a loss of income and benefits.
19           152.     As a further direct and legal result of Defendant’s wrongful conduct, suffered
20   emotional distress and other general damages.
21

22        Tenth Cause of Action for Deprivation of Civil Rights Under Color of State Law
23              Against the Board of Trustees of California State University, Leslie Wong,
24                          Sue V. Rosser, Jennifer Summit, and Does 1-10, Inclusive
25           153.     Plaintiff repeats and repleads each allegation in Paragraphs 1-70 inclusive, as
26   though fully set forth herein.
27

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1              154.   This cause of action is asserted against defendants Wong, Rosser and Summit
2    and Does 1-10 in their individual capacities insofar as compensatory and punitive damages are
3    sought.
4              155.   This cause of action is asserted against defendants Wong, Rosser, and Summit
5    and Does 1-10 in their official capacities only insofar as prospective and injunctive relief are
6    sought.
7              156.   At all times material hereto Plaintiff was an employee of California State
8    University.
9              157.   Plaintiff exercised her right to free speech under the First Amendment of the
10   U.S. Constitution by speaking out on a matter of public concern, including but not limited to
11   racism, Islamophobia, sexism, and the rights of the Palestinian people, inter alia.
12             158.   Plaintiff has been subjected to harassment, interference with her professional
13   and scholastic activities, denial of opportunities for professional advancement, withdrawal of
14   promised support for additional tenure-track professors and administrative support, and denial
15   of reasonable accommodations.
16             159.   These adverse actions against Plaintiff were a direct response to and were
17   intended to harass and discriminate against Plaintiff for her exercise of her free speech rights
18   on matters of public concern. The Board of Trustee’s adverse retaliatory actions Plaintiff
19   violated her constitutional rights under the First Amendment to the U.S. Constitution, as
20   enforced through 42 U.S.C. Section 1983. These adverse actions were directed, supervised
21   and/or executed by Defendants Wong, Rosser, and Summit.
22             160. The acts by Defendants of which Plaintiff complains in this cause of action were
23   taken by Defendants under color of state law.
24             161. Defendants were at all times material hereto policy makers and operating under
25   policy or practice of California State University.
26             162. As a direct and legal result of the aforementioned violations, Plaintiff has been
27   harmed in an amount to be proven at trial.
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      ____________________________________________________________________________________________________
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1            163. The acts of defendants Wong, Rosser, and Summit were done with malice, fraud,
2    oppression, and in reckless disregard of Plaintiff’s clearly established constitutional rights.
3    Further, these acts were despicable in character and warrant the imposition of punitive
4    damages in an amount sufficient to punish the defendants and to deter future similar
5    misconduct.
6

7                                           PRAYER FOR RELIEF
8            WHEREFORE, Plaintiff prays for damages against Defendants as follows:
9

10           FIRST CAUSE OF ACTION FOR BREACH OF CONTRACT:
11           1. Specific performance of the breached portions of the contract, allowing for
12   modification of the salary ranges to reflect 2019 ranges, in an amount to be proven at trial;
13           2. General damages in an amount to be proven at trial; and
14           3. Incidental damages in an amount to be proven at trial
15

16           SECOND CAUSE OF ACTION FOR VIOLATION OF LABOR CODE §970:
17           3. Two times all general damages all general damages, in an amount to be proven at
18   trial pursuant to Cal. Labor Code §972;
19           4. Two times all consequential damages, in an amount to be proven at trial pursuant to
20   Cal. Labor Code §972;
21           5.    Two times all incidental damages, in an amount to be proven at trial pursuant to
22   Cal. Labor Code §972;
23           6.    Two times all damages for emotional distress or other suffering in an amount to
24   be proven at trial pursuant to Cal. Labor Code §972.
25

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1            THIRD CAUSE OF ACTION FOR RACE DISCRIMINATION
2            IN VIOLATION OF 42 U.S.C. §1981 (against all Defendants, jointly and severally)
3            7.    General damages for embarrassment, humiliation, stress, anxiety, emotional distress,
4    pain and suffering, inconvenience, mental anguish, loss of enjoyment, loss of dignity, and
5    damage to personal and professional reputation in an amount to be proven at trial;
6            8.    Damages for loss of income in an amount to be proven at trial;
7            9.    Damages for future loss of income in an amount to be proven at trial;
8            10. Damages for incidental expenses for services, equipment, and travel in an amount to
9    be proven at trial;
10           11. Injunctive relief to prevent employees from being subjected to such discriminatory
11   employment practices;
12           12. Reasonable attorney’s fees and costs of litigation;
13           13. As to Defendants Wong, Rosser, and Summit: Punitive or exemplary damages in an
14   amount sufficient to punish each defendant and to deter future similar misconduct.
15

16           FOURTH CAUSE OF ACTION FOR VIOLATION OF RACE, NATIONAL
17           ORIGIN, and RELIGIOUS DISCRIMINATION in VIOLATION of
18           42 U.S.C. §2000e (against all Defendants, jointly and severally)
19           14. General damages for embarrassment, humiliation, stress, anxiety, emotional
20   distress, pain and suffering, inconvenience, mental anguish, loss of enjoyment, loss of dignity,
21   and damage to personal and professional reputation in an amount to be proven at trial;
22           15. Damages for loss of income in an amount to be proven at trial;
23           16. Damages for future loss of income in an amount to be proven at trial;
24           17. Damages for incidental expenses for services, equipment, and travel in an amount
25   to be proven at trial;
26           18. Injunctive relief to prevent employees from being subjected to such discriminatory
27   employment practices;
28
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                            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

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1            19. Reasonable attorney’s fees and costs of litigation;
2

3            FIFTH CAUSE OF ACTION FOR DISABILITY DISCRIMINATION
4            (AMERICANS WITH DISABILITIES ACT)
5            20. General damages for embarrassment, humiliation, stress, anxiety, emotional
6    distress, pain and suffering, inconvenience, mental anguish, loss of enjoyment, loss of dignity,
7    and damage to personal and professional reputation in an amount to be proven at trial;
8            21. Damages for incidental expenses for services, equipment, and travel in an amount
9    to be proven at trial;
10           22. Injunctive relief to prevent employees from being subjected to such discriminatory
11   employment practices;
12           23. Reasonable attorney’s fees and costs of litigation;
13

14           SIX, SEVENTH, EIGHTH, and NINTH CAUSES OF ACTION FOR
15           DISCRIMINATION, FAILURE TO PREVENT DISCRMINATION;
16           FAILURE TO REASONABLY ACCOMMODATE DISABILITIES;
17           and/or FAILURE TO ENGAGE IN INTERACTIVE PROCESS IN
18           VIOLATION OF CALIFORNIA FAIR EMPLOYMENT AND HOUSING ACT
19           24. General damages for embarrassment, humiliation, stress, anxiety, emotional
20   distress, pain and suffering, inconvenience, mental anguish, loss of enjoyment, loss of dignity,
21   and damage to personal and professional reputation in an amount to be proven at trial;
22           25. Damages for loss of income in an amount to be proven at trial;
23           26. Damages for future loss of income in an amount to be proven at trial;
24           27. Damages for incidental expenses for services, equipment, and travel in an amount
25   to be proven at trial;
26           28. Reasonable attorney’s fees and costs of litigation;
27

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1            TENTH CAUSE OF ACTION FOR DEPRIVATION OF CIVIL RIGHTS UNDER
2            COLOR OF STATE LAW
3

4            Against California State University and Against Leslie Wong, Sue V. Rosser, and
5            Jennifer Summit Only in Their Official Capacities
6            29. Such injunctive relief as the Court may specify to prevent employees from being
7    retaliated against for the exercise of their rights under the First Amendment of the United States
8    Constitution.
9

10           Against Leslie Wong, Sue V. Rosser, and Jennifer Summit Only in Their Individual
11           Capacities
12           30. General damages for embarrassment, humiliation, stress, anxiety, emotional
13   distress, pain and suffering, inconvenience, mental anguish, loss of enjoyment, loss of dignity,
14   and damage to personal and professional reputation in an amount to be proven at trial;
15           31. Damages for loss of income in an amount to be proven at trial;
16           32. Damages for future loss of income in an amount to be proven at trial;
17           33. Damages for incidental expenses for services, equipment, and travel in an amount
18   to be proven at trial;
19           34. As to Defendants Wong, Rosser, and Summit: Punitive or exemplary damages
20   in an amount sufficient to punish each defendant and to deter future similar misconduct
21           35. Reasonable attorney’s fees and costs of litigation;
22

23           AND FOR ALL CAUSES OF ACTION
24           36. Allowable costs of litigation; and
25           37. Such other and further relief as the court may find justified.
26

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1    DATED: January 14, 2019                RESPECTFULLY SUBMITTED
2                                           LAW OFFICE OF MARK ALLEN KLEIMAN
3

4
                                           By:    /s/ Mark Allen Kleiman, Esq.
5

6
                                            Mark Allen Kleiman, Esq.

7
                                            LAW OFFICES OF BEN GHARAGOZLI
8                                           Ben Gharagozli, Esq.
9

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1                                     DEMAND FOR JURY TRIAL
2
             Plaintiff demands a jury trial on all issues so triable.
3
     DATED: January 14, 2019                 RESPECTFULLY SUBMITTED
4
                                             LAW OFFICE OF MARK ALLEN KLEIMAN
5

6

7                                           By:    /s/ Mark Allen Kleiman, Esq.
8                                            Mark Allen Kleiman, Esq.
9
                                             LAW OFFICES OF BEN GHARAGOZLI
10                                           Ben Gharagozli, Esq.
11

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                            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

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                   EXHIBIT "A"
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                                                                                                                             1600 Holloway Avenue
                                                                                                                             san Francisco, CA 94132-4100

           San Francisco                                                                                                     Tel: 415/338-1693
                                                                                                                             Fax: 415/338-1739
           State University
            College of .Ethnic Studies
            Office of the Dean




          Date:                  September 28, 2006

          To:                   Rabab Abdulhadi, Ph.D.

          From:                 Kenneth P. Monteiro, Dean
                                College ofEthnic Studies

          Subject:              MOU Regarding Appointment Offer


          I am pleased to put in writing a memorandum of understanding that outlines the terms of
          the offer that the College of Ethnic Studies is proposing as supplemental to the formal
          contractual offer from San Francisco State University. Should you accept the formal
          tenure-track offer that the University extended, we are prepared to provide you with the
          following:

                Supplemental Salaa:
                For. the first five years, the College will provide you summer salary at the rate of 15%
                above your base to support your summer academic and research activities. In the
                summer o£2007, these payments will be made during the months of July and August.
                In addition, at promotion to full professor typical raises run between 5 to 15%. I must
                note that raises occur pursuant to negotiated contractual arrangements between the
                CFA and the CSU and dependent on budgetary constraints at the time of the
                promotion. Thus, this constitutes an estimate based on past norms, not a guarantee.

                Start date Agreement:
                The ·start date for your position is I anuary 2, 2007.

                Expectations for application to promotion to Full Professor:
                All individuals being considered for promotion from Associate to Full Professor are
                reviewed as per contract and policy (see Faculty Manual
                htlp:i/www.sfsu.edu/~-a~ manuallwelcome.htm and promotions policy
                links http://W\\rw.sfsu. eduJO/o 7Esenateldocumentslpolicies!F04-028.pdf ). Thus, the
                final determination of whether promotion occurs is pursuant to those policies and
                procedures after your review by your program, college, the university promotions
                committee, provost and president. Nothing in this MOU is intended to circumvent or
                prejudice that process. Faculty going up for promotion to Professor exhibit their
                professional achievement and growth in a variety of ways, including the publication
                of a book; the publication of refereed original journal articles; or successful



        The Callfomla Stale Unlvenlty: Bakersfield, ChaMellslanck, Chico, Domiftsuez Hills. fteSnO, fulletton. Hayward, Humbol~ long ffadl. los Angeles. •
Marilime Academy, MonteRy Bay, Notlhridge, p - , Sacnrnento, San Demardino, San Oiep, San Fnnci5cD, San )oM, San Luis Obispo, San Ma1e01, s...-, Slanislaus
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extramural grant applications. As per policy, the criteria for promotion are
determined by the candidate's ability to satisfy the promotions criteria; hence, the
timing of the request for review can be as early as the candidate requests, thus you
may choose to submit your file for promotion as early as Fall of2007. The timing of
the review does not prejudice- for or against- the conditions of the review.

Teaching load Januarv 1007-May 2007:
The normal teaching load in the College of Ethnic Studies is based on a 4/4 course-
load base that by Senate and College policy is modified to be an expected 3/3 course
load with 1/1 assigned time for instructionally related activities. From January 2007
to May 2007, you will be assigned one course teaching and, for the remainder of your
teaching time, you will be released from your teaching load to conduct research and
professional writing.

Teaching load September 2007-May 2008:
From September 2007 to May 2008, you will be released from all teaching duties to
tonduct research and professional writing.

Teaching load Seotember 2008-May 2013:
Your teaching load will be guaranteed by the College to be 1/1 from September 2008
toMay2013

Teaching load September 2013 and beyond:
You will continue thereafter at Ill provided external funding or similar resources are
made available to release you from the normal contractual load. If not as mentioned
before, the nonnative teaching load is 3/3 with Ill instructionally related activity.

Advancement Commitments during year of research 2007-2008:
During the year of research release mentioned above, you will return to campus for
two, two-day advancement visits to include a possible event and meetings with
potential donors and advancement staff. The College will cover the cost of these
return trips.

Research Funds Januaa 2007-1010:
The University will provide you with $100,000 per year for the first three years to
support the various research and professional activities that would build the Arab and
Islamic American academic presence in the College. This is anticipated to include a
journal, educational programming, and research activities among other activities, as
you determine in your role ofPrincipal Investigator for these funds. These funds can
be used for all appropriate research needs, including hiring support staff or traveJ that
are not otherwise specified in this MOU. The university's guaranteed commitment
ends at the completion of this three-year period. Unused funds do not accrue across
fiscal years.




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Research Funds Januan 2010 and beyond:
Starting in the third year or before depending on the success of fundraising effi rts,
and based on a written agreement with Dr. Jess Gbannam on behalf ofmemb of
the Arab and Palestinian communitie$, your continued research support will b
funded through monies raised from the community.

Conference Travel Funds:
The College will support you for three North American and one oversees profi
trips per year.

Moving expenses:
Academic Affairs will provide you with $3000 and a one-way ticket travel e
as per policy http://www.sfsu.edu/-acad.res/facHse.htm. The College will au ent
that allotment up to $15,000 based on established costs from the mover as v · aed
through Ms. MeredithDuke(415-338-7163, mduke@sfsu.edu) in our moving ffice.
The move will be allowed in two p~ the first of which is anticipated Spring f
2007 and the second by Fall 2008, the exact dates can be arranged with our m ving
office.

Technology:
In addition to equipment purchased with your research fund, you will t1e provi , ed
with a computer workstation valued up to $3200 for your faculty office.

Office Space
You will be assigned a single person office. You will also be assigned a two-       ·on
office to house the two Research Associates.

Housing
The university housing office guarantees the availability of one of the followin for
January 2007: a one, two or three bedroom apartment. You will contact Mar
Goodrich, Director, Residential Property at goodricb@sfsu.edu or415-564-61 7 to
arrange your housing. You would rent your chosen unit based on normal pricilig
provided by the housing department. Additional benefits regarding special mohgage
arrangements are delineated in our agreements with PERS and can be found at
http://v..rww.sfsu.edu/-hrwwwlbenefitslbenefits.html                           ·

Additional oositions for Arab/Islamic studies in Ethnic Studies
The university will support two additional lines in the areas of Arab/Islamic
They will first be opened as Research Associates (R.A) under your supervisio and
then can be converted to tenure track faculty lines at a later time to be dete · ed by
the academic needs as you assess them. When they are converted a normal te re
track search process will be used to fill the positions (see
httP://www.sfsu.edu/-acaffislfaculty manual/3 1 l.htm?t=1). The likely R
range for these positions would be between $55,000 and $65,000 annually bas on

                                                                                          3
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   the credentials of the applicant and on approval of the Provost. The likely Assistant
   Professor salary would be between $58,000 and $70,000. The beginning dates for the
   research associates or. faculty will be determined by the Provost's approval after your
   submission of appropriate job descriptions, supervisory models, accountability
   standards and search processes for the positions. These appointments could begin as
   early as spring 2007.

      Advancement/develgpment support
      Projects for the development of Arab aild Islamic American studies will be placed
      among the College's priorities with the College advancement officers

      Handling of announcement of arrival
      11
         SFSU is pleased to announce that Dr. Rabab Abdulhadi has agreed to join our
      faculty in the College ofEthnic Studies. Dr. Abdulhadi is an internationally
      respected expert in studies ofthe Arab and Islamic Diaspora... [listing of publications,
      previous positions, honors etc). As a senior faculty member, Dr. Abdulhadi comes to
      the College bringing leadership to the development of curriculum and scholarship
      regarding Arab and Islamic diaspora studies. We anticipate the development of a
      research center and a core curriculum in this area that will be a model for the field.
                                                                                           11




      University Credit Card Authorization and billing information
      You will be issued a university credit card and assisted by the Dean's office in the
      expenditUres of funds attached to your projects as per university p~licies and
      procedures. Some specific highlights of these policies relevant to your specific
      needs: credit cards cannot be used for most travel expenses except pre-:registrations
      or similar conference related purchases, other expenses (e.g. per diem and hotel are
      best submitted as an advance payment request, direct billing where the university has
      contracts (e.g. air travel and car rental) or as a reimbursement. Policies regarding the
      use of university credit cards and travel can be found at
      http://fiscaff.sfsu.edu/AcctsPayable!Pcard! and
      http://fiscaffsfsu.edu/AcctsPayab)e/fraveV, respectively.




~-22·
I accept the agreements in this memorandum of understanding.




Cc:       J. Gemello, Provost and Vice President for Academic Affairs
          M. Verhey, Dean of Faculty Affair& and Professional Development

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